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                              UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY
 UNITED STATES OF AMERICA                          MAGISTRATE NO,               24-1067

     V.                                            CRIMINAL ACTION
                                                   ORDER FOR CONTINUANCE
S/-ei/^ g, /^c^ *G                                 PRETRIAL DIVERSION
                                                   PROGRAM

 This matter having beenopened to Ihe Court by
 attorney for defenciant, for an Order granting a cojitimumce of the above-captloned proceeding to
 allow the United States to property review aiKi^rocess the defendant's application for the^PreU'Ial
 Diversion Program, and the Sp~ecial AssistantJJnited St-Ettes Attoniey, havmg consented to the form
 and entry of this Order, and for good and sufficient cause shown.

     It is on this ^0 day of ^)~i^ ,20Z^

     ORDERED that this Eiction is continued to _. ^^'h / ^ ^ _?P?S
 for the following reasons:

     1. Defendant is currently under consktotion for the Pretnal Diversion Program amd time is
 necessary for the review and processing ofliis/her application;

     2, Pursuant to 18 U.S.C. 3161(h)(8)^ the end of justice served by granting the continuance
 outweigh the best interest of the public and file defendant in a Speedy Trial.

    IT JS FURTHER ORDERED that the period between the date of this Order and the continued
 date shall be excludabie in computing time under the Speedy Trial Act of 1974.




                                        Q^-
                                                            ^o^llAn^De^e
                                                            U.S. Magistrate Judge
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  /s/Maggie Moy
 Defense Couus<
                                                                 6/Zo/Z6-z^
                                                                Dite^

 Assistant U.y, Attorney
